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                           EXHIBIT F-1

  H&K’s Reimbursable Expense Detail for

                       Application Period
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H&K Reimbursable Expense Detail for Application Period

          HK Invoice
  Date     Number       Category      Amount                                   Detail
                                                 Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                 8/18/2023 - - Dennis A. Gonzalez; Taxi; Travel from Miami to
7/31/2023 33277453 Travel Expenses        $87.50 airport in Fort Lauderdale Airport; 07/31/2023
                                                 Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                 8/18/2023 - - Dennis A. Gonzalez; Hotel - Lodging; Travel for
7/31/2023 33277453 Travel Expenses       $179.27 Receivership Tasks; 07/31/2023

                                                 Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                 Date: 8/18/2023 - - Andrew W. Balthazor; Taxi; Expense for
7/31/2023 33277453 Travel Expenses        $59.91 travel from Miami to Fort Lauderdale Airport; 07/31/2023

                                                 Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                 Date: 8/18/2023 - - Andrew W. Balthazor; Hotel - Lodging; Hotel
7/31/2023 33277453 Travel Expenses       $220.25 expense for Receivership Trip to Salt Lake City; 07/31/2023
                                                 Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                 169386 Date: 7/31/2023 - Lawyers Travel Service - Out of Town
                                                 Travel - 07/31/2023 - Lawyers Travel Service - Out of Town
                                                 Travel - BALTHAZOR/ANDREW WILLIAM FLL SLC FLL - Departure
                                                 Date: 7/31/2023 Arrival Date: 8/5/2023 Ticket Number
7/31/2023 33277453 Travel Expenses       $669.87 7985011546

                                                 Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                 169392 Date: 7/31/2023 - Lawyers Travel Service - Out of Town
                                                 Travel - 07/31/2023 - Lawyers Travel Service -Out of Town
                                                 Travel - MASCIANICA/SCOTT FRANCIS SLC DAL - Departure Date:
7/31/2023 33277453 Travel Expenses        $67.03 8/3/2023 Arrival Date: 8/3/2023 Ticket Number 7985011551

                                                 Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                 169393 Date: 7/31/2023 - Lawyers Travel Service - Out of Town
                                                 Travel - 07/31/2023 - Lawyers Travel Service - Out of Town
                                                 Travel - GONZALEZ/DENNIS A FLL SLC LAX - Departure Date:
7/31/2023 33277453 Travel Expenses       $605.06 7/31/2023 Arrival Date: 8/4/2023 Ticket Number 7985011552
                                                 Vendor: Wells Fargo Bank, N.A. - Visa & Masterca; Invoice#:
                                                 169395; Date: 7/31/2023 - Lawyers Travel Service - Out of
7/31/2023 33277453 Travel Expenses       $669.87 Town Travel - 07/31/2023

                                                 Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                 9/7/2023 - - Alex M Englander; Taxi; Pickup at Residence and
7/31/2023 33277453 Travel Expenses        $46.78 Drop off at Fort Lauderdale airport; 07/31/2023
                                                 Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                 9/7/2023 - - Alex M Englander; Dinner; Dinner at Fort
7/31/2023 33277453 Travel Expenses        $29.96 Lauderdale Airport; 07/31/2023
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           HK Invoice
  Date      Number      Category      Amount                                 Detail

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Hotel - Lodging; Lodging for
7/31/2023 33277453 Travel Expenses      $230.48 Utah trip to handle business for Receivership; 07/31/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Hotel - Lodging; Lodging for
8/1/2023   33277453 Travel Expenses     $363.65 Utah trip to handle business for Receivership; 08/01/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Dinner; Dinner at Whiskey
8/1/2023   33277453 Travel Expenses      $20.00 Street in Salt Lake City; 08/01/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Taxi; Pick up at hotel and drop
8/1/2023   33277453 Travel Expenses      $23.68 at Hertz Rental Car at airport; 08/01/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
8/1/2023   33277453 Travel Expenses      $22.29 9/7/2023 - - Alex M Englander; Lunch; Lunch; 08/01/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Breakfast; Breakfast;
8/1/2023   33277453 Travel Expenses      $22.57 08/01/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Hotel - Parking; Lodging for Utah
8/1/2023   33277453 Parking              $25.00 trip to handle business for Receivership; 08/01/2023

                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Hotel - Parking;
8/1/2023   33277453 Parking              $25.00 Parking expense for rental car; 08/01/2023

                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Hotel - Lodging; Hotel
8/1/2023   33277453 Travel Expenses     $353.41 expense for Receivership Trip to Salt Lake City; 08/01/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Hotel - Breakfast; Travel for
8/1/2023   33277453 Travel Expenses      $21.75 Receivership tasks; 08/01/2023

                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Hotel - Lodging; Travel from
8/1/2023   33277453 Travel Expenses     $312.43 Rental Car Drop off to Salt Lake City Airport; 08/01/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Dinner; Travel to Utah to
8/1/2023   33277453 Travel Expenses      $52.25 work on Receivership tasks; 08/01/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Lunch; Travel to Utah to work
8/1/2023   33277453 Travel Expenses      $16.77 on Receivership tasks; 08/01/2023
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           HK Invoice
 Date       Number       Category     Amount                                  Detail

                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Hotel - Lodging; Traveled Salt
8/1/2023   33277453 Travel Expenses     $361.38 Lake City to begin working on receivership -; 08/01/2023
                                                Vendor: Nicole Guerrero Invoice#: 6094957508111206 Date:
                                                8/8/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Court
                                                document pull Eighth Judicial District Court in Nevada
                                                Complaint pulled by N. Cullinane for Alex Englander;
8/1/2023   33277453 Research              $6.00 08/01/2023
                                                Vendor: Nicole Guerrero Invoice#: 6094957508111206 Date:
                                                8/8/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Fee to
                                                access Court document pull Eighth Judicial District Court in
                                                Nevada Complaint pulled by N. Cullinane for Alex Englander;
8/1/2023   33277453 Filing Fees           $0.18 08/01/2023

                                                Vendor: Nicole Guerrero Invoice#: 6094957508111206 Date:
                                                8/8/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Court
                                                document pull Eighth Judicial District Court in Nevada pulled by
8/1/2023   33277453 Filing Fees           $9.50 N. Cullinane for Alex Englander; 08/01/2023

                                                Vendor: Nicole Guerrero Invoice#: 6094957508111206 Date:
                                                8/8/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Fee to
                                                access Court document pull Eighth Judicial District Court in
8/1/2023   33277453 Filing Fees           $0.28 Nevada pulled by N. Cullinane for Alex Englander; 08/01/2023

                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Car Rental; Traveled Salt Lake
8/1/2023   33277453 Travel Expenses     $211.02 City to begin working on receivership -; 08/01/2023
                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Lunch; Traveled Salt Lake City to
8/1/2023   33277453 Travel Expenses      $19.63 begin working on receivership -; 08/01/2023
                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Dinner; Traveled Salt Lake City
8/1/2023   33277453 Travel Expenses      $19.11 to begin working on receivership -; 08/01/2023

                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Breakfast; Traveled Salt Lake
8/2/2023   33277453 Travel Expenses      $14.23 City to begin working on receivership -; 08/02/2023
                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Dinner; Traveled Salt Lake City
8/2/2023   33277453 Travel Expenses      $27.71 to begin working on receivership -; 08/02/2023

                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Hotel - Lodging; Traveled Salt
8/2/2023   33277453 Travel Expenses     $212.05 Lake City to begin working on receivership -; 08/02/2023
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           HK Invoice
 Date       Number      Category      Amount                                 Detail
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Dinner; Travel to Utah to
8/2/2023   33277453 Travel Expenses      $83.05 work on Receivership tasks; 08/02/2023

                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Hotel - Lodging; Travel from
8/2/2023   33277453 Travel Expenses     $191.56 Rental Car Drop off to Salt Lake City Airport; 08/02/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Hotel - Breakfast; Travel to
8/2/2023   33277453 Travel Expenses      $31.14 work on Receivership tasks.; 08/02/2023
                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Hotel - Parking;
                                                Parking for rental car for tips to sites for Receivership;
8/2/2023   33277453 Parking              $25.00 08/02/2023

                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Hotel - Lodging; Hotel
8/2/2023   33277453 Travel Expenses     $232.53 expense for Receivership Trip to Salt Lake City; 08/02/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Hotel - Parking; Lodging for Utah
8/2/2023   33277453 Parking              $25.00 trip to handle business for Receivership; 08/02/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Dinner; Lodging for Utah trip to
8/2/2023   33277453 Travel Expenses      $28.70 handle business for Receivership; 08/02/2023
                                                Vendor: Alex M Englander Invoice#: 6180012609261201 Date:
                                                9/21/2023 - - Alex M Englander; Lunch; Lunch at The Robin's
8/2/2023   33277453 Travel Expenses      $74.42 Nest; 08/02/2023
                                                Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                169492 Date: 8/2/2023 - Lawyers Travel Service - Out of Town
                                                Travel - 08/02/2023 - Lawyers Travel Service - Out of Town
                                                Travel - BALTHAZOR/ANDREW WILLIAM SLC MIA - Departure
                                                Date: 8/3/2023 Arrival Date: 8/4/2023 Ticket Number
8/2/2023   33277453 Travel Expenses     $345.14 7985011607

                                                Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                169490 Date: 8/2/2023 - Lawyers Travel Service - Out of Town
                                                Travel - 08/02/2023 - Lawyers Travel Service - Out of Town
                                                Travel - ENGLANDER/ALEX MICHAEL SLC FLL - Departure Date:
8/2/2023   33277453 Travel Expenses      $66.84 8/3/2023 Arrival Date: 8/4/2023 Ticket Number 7985011605

                                                Vendor: Wells Fargo Bank, N.A. - Visa & Masterca Invoice#:
                                                169491 Date: 8/2/2023 - Lawyers Travel Service - Out of Town
                                                Travel - 08/02/2023 - Lawyers Travel Service - Out of Town
                                                Travel - GONZALEZ/DENNIS A SLC LAX - Departure Date:
8/2/2023   33277453 Travel Expenses      $16.86 8/3/2023 Arrival Date: 8/3/2023 Ticket Number 7985011606
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           HK Invoice
 Date       Number      Category      Amount                               Detail
                                                Vendor: Wood, Morgan L. Invoice#: 6121260308291204 Date:
                                                8/22/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                                document pull - Utah DebtBox Project pulled by M. Wood for J.
8/2/2023   33277453 Research              $5.00 Magee; 08/02/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Hotel - Lodging; Lodging for
8/2/2023   33277453 Travel Expenses     $234.58 Utah trip to handle business for Receivership; 08/02/2023
                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Car Rental; Rental car
                                                expense to travel to sites for the Receivership matter;
8/3/2023   33277453 Travel Expenses     $171.97 08/03/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Dinner; Lodging for Utah trip to
8/3/2023   33277453 Travel Expenses      $40.84 handle business for Receivership; 08/03/2023

                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
8/3/2023   33277453 Travel Expenses      $67.37 9/7/2023 - - Alex M Englander; Lunch; Lunch; 08/03/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Car Rental; Rental car for
8/3/2023   33277453 Travel Expenses     $242.66 meeting in and around Salt Lake City; 08/03/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Taxi; Travel from Rental Car
8/3/2023   33277453 Travel Expenses      $43.70 Drop off to Salt Lake City Airport; 08/03/2023

                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Car Rental; Rental car was
8/3/2023   33277453 Travel Expenses     $211.02 used for drive to work sites for the Receivership; 08/03/2023
                                                Vendor: Dennis A. Gonzalez Invoice#: 6115476508221202 Date:
                                                8/18/2023 - - Dennis A. Gonzalez; Dinner; Travel to Utah to
8/3/2023   33277453 Travel Expenses      $10.22 work on Receivership tasks; 08/03/2023
                                                Vendor: Nicole Guerrero Invoice#: 6094994008091202 Date:
                                                8/8/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Utah-
                                                based entity search performed by N. Cullinane for Andrew
8/3/2023   33277453 Research              $1.00 Balthazor; 08/03/2023
                                                Vendor: Nicole Guerrero Invoice#: 6094994008091202 Date:
                                                8/8/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Utah-
                                                based entity search performed by N. Cullinane for Andrew
8/3/2023   33277453 Research              $1.00 Balthazor; 08/03/2023

                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Breakfast; Traveled Salt Lake
8/3/2023   33277453 Travel Expenses      $27.52 City to begin working on receivership -; 08/03/2023
                                                Vendor: Scott Mascianica Invoice#: 6105231508151208 Date:
                                                8/14/2023 - - Scott Mascianica; Lunch; Traveled Salt Lake City to
8/3/2023   33277453 Travel Expenses      $15.59 begin working on receivership -; 08/03/2023
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           HK Invoice
  Date      Number      Category      Amount                                Detail
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Airfare; Flight change due to
8/4/2023   33277453 Travel Expenses     $104.00 meetings; 08/04/2023
                                                Vendor: Alex M Englander Invoice#: 6150126110021205 Date:
                                                9/7/2023 - - Alex M Englander; Taxi; Pick up at airport in Florida
8/4/2023   33277453 Travel Expenses      $42.39 and drop at residence; 08/04/2023

                                                Vendor: Balthazor, Andrew W. Invoice#: 6115541608311204
                                                Date: 8/18/2023 - - Andrew W. Balthazor; Taxi; Travel from
8/4/2023   33277453 Travel Expenses      $23.95 Miami Airport to residence; 08/04/2023
                                                UPS-Tracking number:1ZF5E1980198873464-Date:2023-08-09-
                                                Receiver Name:c/o Corporation Serv-Receiver Company
                                                Name:BAM Trading Services, Inc.-Service Description:Next Day
8/9/2023   33277453 Postage              $14.33 Air Commercial

                                                Vendor: Fennessey, Margaret A. Invoice#: 6115914208221202
                                                Date: 8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                                document pull - Utah Court Xchange pulled by M. Fennessey for
8/10/2023 33277453 Research               $5.00 Jessica Magee; 08/10/2023

                                                Vendor: Fennessey, Margaret A. Invoice#: 6115936508221202
                                                Date: 8/18/2023 - - L A SUPERIOR COURT; Court Fees; Court
                                                document pull - ROK MOBILE, INC. VS SCHAD BRANNON pulled
8/10/2023 33277453 Research              $13.80 by M. Fennessey for Jessica Magee; 08/10/2023
                                                Vendor: Baer, Thomas Invoice#: 6115746808221202 Date:
                                                8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                                document pull - UTAH COURTS XCHANGE performed by T. Baer
8/10/2023 33277453 Research               $5.00 for J. Magee.; 08/10/2023
                                                Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                                8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                                document pulls - Search Utah courts for litigation involving Debt
                                                Box & related entities/individuals performed by E. Berg for
8/10/2023 33277453 Research               $5.00 Jessica Magee; 08/10/2023
                                                Vendor: Norton, Jacqueline Invoice#: 6184521109261201 Date:
                                                9/25/2023 - - UTAH COURTS XCHANGE; Court Fees; Utah court
8/10/2023 33277453 Research               $5.00 case searches; 08/10/2023
                                                Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                                8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                                document pulls - Search Utah courts for litigation involving Debt
                                                Box & related entities/individuals performed by E. Berg for
8/11/2023 33277453 Research               $5.00 Jessica Magee; 08/11/2023

                                                Vendor: Fennessey, Margaret A. Invoice#: 6115914208221202
                                                Date: 8/18/2023 - - ORANGE CO SUPERIOR CRT W; Court Fees;
                                                Court document pull - Superior Court California, Orange County
8/11/2023 33277453 Research               $8.20 pulled by M. Fennessey for Jessica Magee; 08/11/2023
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            HK Invoice
  Date       Number      Category   Amount                                Detail

                                             Vendor: Baer, Thomas Invoice#: 6115728608221202 Date:
                                             8/18/2023 - - RESEARCHTX *224716.00; Court Fees; Court
                                             document pull - UClue, Inc. DBA Uforia Sciences, Plaintiff, v.
                                             Travis Flaherty, Summer Flaherty And Flaherty Enterprises, LLC,
8/11/2023   33277453 Research          $7.15 Defendants.pulled by T. Baer for Jessica Magee; 08/11/2023
8/11/2023   33277453 Research          $4.00 Lexis-COURTLINK ONLINE DOC VIEW-2023-08-11
8/11/2023   33277453 Research          $2.00 Lexis-DOC ACCESS-2023-08-11
8/11/2023   33277453 Research          $2.00 Lexis-DOC ACCESS-2023-08-11
                                             FedEx Reference Number:772954081588 - Recipient Name:c/o
                                             C T Corporation System - Recipient Zip Code:33324 - Service
8/11/2023 33277453 Postage            $15.63 Packaging:FedEx 2Day
                                             FedEx Reference Number:772953201330 - Recipient Name:c/o
                                             Corporation Service Company - Recipient Zip Code:84101 -
8/11/2023 33277453 Postage            $16.78 Service Packaging:FedEx 2Day
                                             Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                             8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                             document pulls - Search Utah courts for litigation involving Debt
                                             Box & related entities/individuals performed by E. Berg for
8/14/2023 33277453 Research            $5.00 Jessica Magee; 08/14/2023
                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees;
                                             Complaint from Clark County, Nevada with transaction fee;
8/14/2023 33277453 Research            $0.10 08/14/2023

                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - -CLARK8JUDCRT*NV E-PAY; Court Fees; Complaint
8/14/2023 33277453 Research            $3.50 from Clark County, Nevada with transaction fee; 08/14/2023
                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Stipulation
                                             and Order from Clark County, Nevada with transaction fee;
8/14/2023 33277453 Research            $2.50 08/14/2023
                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees;
                                             Stipulation and Order from Clark County, Nevada with
8/14/2023 33277453 Research            $0.08 transaction fee; 08/14/2023

                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Judgment
8/14/2023 33277453 Research            $2.50 from Clark County, Nevada with transaction fee; 08/14/2023

                                             Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                             8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Judgment
8/14/2023 33277453 Research            $0.08 from Clark County, Nevada with transaction fee; 08/14/2023
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         HK Invoice
  Date    Number      Category   Amount                                 Detail
                                          Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                          8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                          document pulls - Search Utah courts for litigation involving Debt
                                          Box & related entities/individuals performed by E. Berg for
                                          Jessica
8/15/2023 33277453 Research         $5.00 Magee; 08/15/2023
                                          Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                          8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                          document pulls - Search Utah courts for litigation involving Debt
                                          Box & related entities/individuals performed by E. Berg for
                                          Jessica
8/15/2023 33277453 Research         $5.00 Magee; 08/15/2023
                                          Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                          8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                          document pulls - Search Utah courts for litigation involving Debt
                                          Box & related entities/individuals performed by E. Berg for
                                          Jessica
8/15/2023 33277453 Research         $5.00 Magee; 08/15/2023
                                          Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                          8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                          document pulls - Search Utah courts for litigation involving Debt
                                          Box & related entities/individuals performed by E. Berg for
8/15/2023 33277453 Research         $5.00 Jessica Magee; 08/15/2023
                                          Vendor: Berg, Eric Invoice#: 6115790508291204 Date:
                                          8/18/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                          document pulls - Search Utah courts for litigation involving Debt
                                          Box & related entities/individuals performed by E. Berg for
                                          Jessica
8/15/2023 33277453 Research         $5.00 Magee; 08/15/2023

                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Complaint
8/16/2023 33277453 Research         $6.00 from Clark County, Nevada with transaction fee; 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees;
                                          Complaint from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $0.18 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees;
                                          Stipulation and Order from Clark County, Nevada with
8/16/2023 33277453 Research         $0.10 transaction fee; 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Stipulation
                                          and Order from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $3.50 08/16/2023
   Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5513 Page 10 of
                                         35
         HK Invoice
  Date    Number      Category   Amount                                Detail
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Case
                                          exhibits from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $0.10 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Case
                                          exhibits from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $3.50 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Default
8/16/2023 33277453 Research         $1.00 filing from Clark County, Nevada.; 08/16/2023

                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Default
8/16/2023 33277453 Research         $0.03 filing from Clark County, Nevada. Transaction fee; 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8JUDCRT*NV E-PAY; Court Fees; Default
                                          filing from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $1.00 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6138375509041206 Date:
                                          8/31/2023 - - CLARK8J*DC PAYMENT FEE; Court Fees; Default
                                          filing from Clark County, Nevada with transaction fee;
8/16/2023 33277453 Research         $0.03 08/16/2023
                                          Vendor: Norton, Jacqueline Invoice#: 6184521109261201 Date:
                                          9/25/2023 - - UTAH COURTS XCHANGE; Court Fees; Utah court
8/16/2023 33277453 Research         $5.00 case searches; 08/16/2023
                                          Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                          8/25/2023 - - UTAH COURTS XCHANGE; Court Fees; Utah Court
                                          Exchange performed by N. Cullinane for Andy Balthazor;
8/17/2023 33277453 Research         $5.00 08/17/2023
                                          Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                          8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                          document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research         $1.00 Balthazor; 08/18/2023
                                          Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                          8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                          document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research         $1.00 Balthazor; 08/18/2023
                                          Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                          8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                          document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research         $1.00 Balthazor; 08/18/2023
                                          Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                          8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                          document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research         $6.00 Balthazor; 08/18/2023
   Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5514 Page 11 of
                                         35
           HK Invoice
  Date      Number      Category   Amount                                   Detail
                                            Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                            8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                            document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research           $1.00 Balthazor; 08/18/2023
                                            Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                            8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                            document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research           $2.00 Balthazor; 08/18/2023
                                            Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                            8/25/2023 - - UT INTERACTIVE-INTERNET; Court Fees; Court
                                            document pull online Utah performed by N. Cullinane for Andy
8/18/2023 33277453 Research           $2.00 Balthazor; 08/18/2023
                                            Vendor: Berg, Eric Invoice#: 6139561709041206 Date:
                                            8/31/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                            document pull - Utah exchange 5143 pulled by E. Berg for
8/18/2023 33277453 Research           $5.00 Jessica Magee; 08/18/2023
                                            Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                            8/25/2023 - - CAPITOL SERVICES INC; Library Purchases; Capital
                                            service pulling articles of incorporation performed by N.
8/19/2023 33277453 Research          $55.00 Cullinane for Andy Balthazor; 08/19/2023
                                            Vendor: Berg, Eric Invoice#: 6139561709041206 Date:
                                            8/31/2023 - - UTAH COURTS XCHANGE; Court Fees; Court
                                            document pull - Utah exchange 9566 pulled by E. Berg for
8/22/2023 33277453 Research           $5.00 Jessica Magee; 08/22/2023
                                            Vendor: Nicole Guerrero Invoice#: 6128368908291204 Date:
                                            8/25/2023 - - CAPITOL SERVICES INC; Library Purchases; Capital
                                            service pulling articles of incorporation performed by N.
8/23/2023 33277453 Research          $43.00 Cullinane for Andy Balthazor; 08/23/2023
                                            Vendor: CourtTrax Corporation Invoice#: 12213119 Date:
                                            8/31/2023 - - Court document pulls - Western Oil Exploration -
                                            NV Clark District // Wheeler Machinery - T // The Gold
                                            Collective // Schuler, Mark W // Flaherty, Travis performed by
8/31/2023 33277453 Research          $14.50 M. Fennessey
                                            Courthouse News Service - Inv. 744668 - Alamosa County
9/1/2023   33277452 Research          $9.00 District Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Clark County District
9/1/2023   33277452 Research         $15.00 Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Collin County District
9/1/2023   33277452 Research          $8.50 Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Denton County District
9/1/2023   33277452 Research          $6.50 Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Gwinnett County State
9/1/2023   33277452 Research         $14.00 Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Harris County District
9/1/2023   33277452 Research          $5.00 Court - 9/1/2023
                                            Courthouse News Service - Inv. 744668 - Kimball County District
9/1/2023   33277452 Research         $10.00 Court - 9/1/2023
    Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5515 Page 12 of
                                          35
           HK Invoice
  Date      Number       Category   Amount                                    Detail
                                              Courthouse News Service - Inv. 744668 - Multnomah County
9/1/2023   33277452 Research            $7.00 Circuit Court - 9/1/2023
                                              Courthouse News Service - Inv. 744668 - Salt Lake County
9/1/2023   33277452 Research           $27.50 District Court - 9/1/2023
                                              Courthouse News Service - Inv. 744668 - Wasatch County
9/1/2023   33277452 Research           $14.50 District Court - 9/1/2023
                                              Vendor: Nebraska.Gov Invoice#: 220778 Date: 9/1/2023 - Send
                                              To: ^44701^ Mariah N. Richardson - Annual subscription for
9/1/2023   33277452 Filing Fees       $100.00 Nebraska e-filing account
                                              Vendor: Richardson, Mariah N. Invoice#: 6155621009251206
                                              Date: 9/11/2023 - - S.D. OF FLORIDA; Miscellaneous; Court
9/6/2023   33277452 Filing Fees       $402.00 Filing Fees; 09/06/2023
                                              Vendor: Richardson, Mariah N. Invoice#: 6155621009251206
                                              Date: 9/11/2023 - - COURTS/USDC-UT-PG; Miscellaneous; Court
9/6/2023   33277452 Filing Fees        $49.00 Filing Fees; 09/06/2023
                                              Vendor: Debra Kinney Invoice#: 6220891510121202 Date:
                                              10/10/2023 - - USPS CHANGE OF ADDRESS; Miscellaneous;
                                              Address Change from 13894 S. Bangerter Pkwy, Suite 100,
                                              Draper, UT 84020-5317 to OPC in Brandon, Florida, so Receiver
9/7/2023   33277452 Postage            $45.45 will receive all mail for the case.; 09/07/2023
                                              Vendor: Debra Kinney Invoice#: 6220891510121202 Date:
                                              10/10/2023 - - USPS CHANGE OF ADDRESS; Miscellaneous;
                                              Address Change from 13894 S. Bangerter Pkwy, Suite 200,
                                              Draper, UT 84020-5317 to OPC in Brandon, Florida, so Receiver
9/7/2023   33277452 Postage            $45.45 will receive all mail for the case.; 09/07/2023
                                              Vendor: Alanna Moore Invoice#: 6160325210121202 Date:
                                              9/12/2023 - - CO.GOV.SUBWF; Court Fees; Colorado Courts E-
9/10/2023 33277452 Filing Fees         $15.00 filing August 2023 Fees and Costs; 9/10/2023
                                              FedEx Reference Number:773320456476 - Recipient
                                              Name:Corporation Services Company - Recipient Zip
9/15/2023 33277452 Postage             $19.22 Code:32301 - Service Packaging:FedEx Priority Overnight
                                              FedEx Reference Number:773320572902 - Recipient
                                              Name:Corporation Services Company - Recipient Zip
9/15/2023 33277452 Postage             $17.25 Code:84101 - Service Packaging:FedEx 2Day

                                              Vendor: Mireya Rodriguez Invoice#: 6186963510131203 Date:
                                              9/26/2023 - - COURTS/USDC-OK-WD; Miscellaneous; SEC v.
                                              Digital Licensing - Notice of Receivership Miscellaneous filing
9/22/2023 33277452 Filing Fees         $49.00 fee, USDC Western District of Oklahoma; 09/22/2023
                                              Vendor: Balthazor, Andrew W. Invoice#: 6202161010041200
                                              Date: 10/2/2023 - - Andrew W. Balthazor; Technology
                                              Purchases; Experian Subscription - Digital Licensing.;
9/25/2023 33277452 Research            $39.95 09/25/2023

                                              Vendor: Mireya Rodriguez Invoice#: 6200373110131203 Date:
                                              10/2/2023 - - COURTS/USDC-CO; Court Fees; SEC v. Digital
9/27/2023 33277452 Filing Fees         $49.00 Licensing - Notice of Receivership filing fee; 09/27/2023
     Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5516 Page 13 of
                                           35
            HK Invoice
   Date      Number           Category    Amount                                  Detail
                                                     Vendor: US District Court Invoice#: 500-3889-0050 Date:
                                                     9/27/2023 - Send To: ^44443^ Andrew W. Balthazor - Notice of
9/27/2023 33277452 Filing Fees                $49.00 Receivership filing fee

                                                     Vendor: Mireya Rodriguez Invoice#: 6200322710131203 Date:
                                                     10/2/2023 - - COURTS/USDC-WA-W-P; Court Fees; SEC v. Digital
9/28/2023 33277452 Filing Fees                $49.00 Licensing - Notice of Receivership filing fee; 09/28/2023
10/5/2023 33277452 Research                   $20.00 Misc Online Research - TLO LLC - 10/5/2023
                                                     FedEx Reference Number:784397431334 - Recipient
                                                     Name:Clerk, United States District Court - Recipient Zip
10/6/2023 33277452 Postage                    $17.33 Code:39201 - Service Packaging:FedEx 2Day

Total for Invoice #33277453                $7,678.51
 Filing Fees                                   $9.96
 Parking                                     $100.00
 Postage                                      $46.74
 Research                                    $275.85
 Travel Expenses                           $7,245.96
Total for Invoice #33277452                $1,083.65
 Filing Fees                                 $762.00
 Parking                                       $0.00
 Postage                                     $144.70
 Research                                    $176.95
 Travel Expenses                               $0.00
Overall Total:                           $ 8,762.16
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5517 Page 14 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5518 Page 15 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5519 Page 16 of
                                      35

  From:                Hertz
  To:                  Gonzalez, Dennis A (MIA -
  Subject:             Hertz Receipt
  Date:                Thursday, August 3, 2023 8:12:39 PM


  [External email]
        Here's Your Hertz Rental Car Receipt.
                                                                                                            VIEW ONLINE




                   Hertz ®



                                     We’re here to get you there.
        We're here to get you there.




                                                        Your Receipt
                                                         VIEW RECEIPT

                                                                    #   02 MR         RR                       520951303
                                                                                      RES                          K57000490C9


  DENNIS A GONZALEZ

  INITIAL CHARGES
  RENT RT                        $         39.00/ DAY        @                                    3/ DAYS      $        117.00

  SUBTOTAL                                                                                                   T$         117.00


  CHARGES ADDED DURING RENTAL
  LDW                           INCLUDED IN                  2423           RATE

  LIS                           DECLINED
  PAI, PEC                      DECLINED

  PREM RD SVC                  ACCEPTED @ $                              9.99   DAY                          T$          29.97

  * ADDITIONAL CHARGES


  SERVICE CHARGES/TAXES
  CONCESSION FEE RECOVERY                                                               11.11 %              T$          16.50
  CUSTOMER FAC                                                                                               T$          15.00
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5520 Page 17 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5521 Page 18 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5522 Page 19 of
                                      35

   From:              andrew.balthazor
   To:                Balthazor, Andrew W (MIA - X27584)
   Subject:           Fwd: Hertz Receipt
   Date:              Friday, August 4, 2023 1:17:25 AM


   [External email]



   Begin forwarded message:


          From: Hertz <HertzNoReply@rentals.hertz.com>
          Date: August 3, 2023 at 10:05:35 PM MDT
          To: andrew
          Subject: Hertz Receipt
          Reply-To: NoReply <HertzNoReply@rentals.hertz.com>



              Here's Your Hertz Rental Car Receipt.
                                                                                                 VIEW ONLINE




                         Hertz ®



                                           We’re here to get you there.
              We're here to get you there.




                                                              Your Receipt
                                                               VIEW RECEIPT

                                                                     #   01 MR   RR                 520949391
                                                                                 RES                    K57018592D4

          ANDREW WILLIAM BALTHAZOR
          INITIAL CHARGES
          RENT RT                      $         39.00/ DAY      @                     3/ DAYS      $        117.00
          SUBTOTAL                                                                                T$         117.00

          CHARGES ADDED DURING RENTAL
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5523 Page 20 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5524 Page 21 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5525 Page 22 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5526 Page 23 of
                                      35




                                                   total = 220.25 for 7.31



                                                  total = 353.41 for 8.1



                                                  total = 232.53 for 8.2
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5527 Page 24 of
                                      35
Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5528 Page 25 of
                                      35
     Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5529 Page 26 of
                                           35              Holland & Knight LLP
                                                                                      Invoice Number: 169386
                                                                                      Issued Date:    07/31/2023
                                                                                      Agent:          YL

                                                         Traveler Information
Name: BALTHAZOR/ANDREW WILLIAM                                             Agency Locator:       MIDHLJ
Client Matter Number:
                                                          Ticket Information
Ticket Number:   7985011546

 Departure:   Monday      07/31/2023        7:50 pm       FORT LAUDERDALE - FORT LAUDERDALE INTERNATIONAL AI (FLL)
 Arrival:     Monday      07/31/2023       10:57 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Carrier:     JET BLUE (B6)                               Flight #: 2319          Class: R

 Departure:   Friday      08/04/2023       11:59 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Arrival:     Saturday    08/05/2023        6:37 am       FORT LAUDERDALE - FORT LAUDERDALE INTERNATIONAL AI (FLL)
 Carrier:     JET BLUE (B6)                               Flight #: 2320          Class: Z

                                                      Base Fare: $565.65        Taxes: $72.22               Total Airfare: $637.87
                                                        Service Fee Information

Service Fee Vendor: Lawyers Travel               Ticket Number: 6242274478                                                   $32.00
                                                      Rental Car Information
 Confirmation Number : K57018592D4
   Car Vendor:          Hertz
   Rental Address:      SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP


      Pick-Up Date: 07/31/2023         Drop-Off Date: 08/04/2023         Duration: 4      Rate     $39.00          Total:      $156.00
                                                           Hotel Information

 Confirmation Number : 3413103970
   Hotel Name:      HILTON SALT LAKE CTY CNTR
   Hotel Address:   255 SOUTH WEST TEMPLE
                    SALT LAKE CITY UT 84101
                    SALT LAKE CITY, UT US 84101
      Check-In Date: 07/31/2023        Check-Out Date: 08/04/2023        Duration:   4     Rate:   $310.50         Total:    $1,242.00

                                                           Payment Details

                 Payment Method                             Payment Number                                   Amount Paid
                 CREDIT CARD                                                                                      637.87
                 CREDIT CARD                                                                                       32.00
                                                                                                                  669.87

                                                           Invoice Summary

                                                                                     Total Airfare:                         $637.87
                                                                                     Total Rail Fare:                         $0.00
                                                                                     Service Fee:                            $32.00
                                                                                     Invoice Total:                         $669.87
                                                                                     Amount Paid:                           $669.87
                                                                                     Balance:                                 $0.00
                                                                                     Voided Amount:




Generated:    04/17/2024                                                                                                       Page 1 of 1
   Search:,
     Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5530 Page 27 of
                                           35              Holland & Knight LLP
                                                                                  Invoice Number: 169492
                                                                                  Issued Date:    08/02/2023
                                                                                  Agent:          YL

                                                        Traveler Information
Name: BALTHAZOR/ANDREW WILLIAM                                            Agency Locator:   MIDHLJ
Client Matter Number:
                                                         Ticket Information
Ticket Number:   7985011607

 Departure:   Thursday     08/03/2023     11:59 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Arrival:     Friday       08/04/2023      6:42 am       MIAMI - MIAMI INTERNATIONAL AIRPORT (MIA)
 Carrier:     DELTA AIR LINES INC. (DL)                  Flight #: 1175          Class: K

                                                     Base Fare: $307.20       Taxes: $37.94          Total Airfare: $345.14

                                                          Payment Details

                 Payment Method                            Payment Number                             Amount Paid
                 CREDIT CARD                                                                               345.14
                                                                                                           345.14

                                                          Invoice Summary

                                                                                 Total Airfare:                     $345.14
                                                                                 Total Rail Fare:                     $0.00
                                                                                 Service Fee:                         $0.00
                                                                                 Invoice Total:                     $345.14
                                                                                 Amount Paid:                       $345.14
                                                                                 Balance:                             $0.00
                                                                                 Voided Amount:




Generated:    04/17/2024                                                                                               Page 1 of 1
   Search:,
     Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5531 Page 28 of
                                           35              Holland & Knight LLP
                                                                                       Invoice Number: 169393
                                                                                       Issued Date:    07/31/2023
                                                                                       Agent:          02082

                                                          Traveler Information
Name: GONZALEZ/DENNIS A                                                     Agency Locator:     NFZZXF
Client Matter Number:
                                                           Ticket Information
Ticket Number:   7985011552

 Departure:   Monday      07/31/2023         7:50 pm       FORT LAUDERDALE - FORT LAUDERDALE INTERNATIONAL AI (FLL)
 Arrival:     Monday      07/31/2023        10:57 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Carrier:     JET BLUE (B6)                                Flight #: 2319          Class: R

 Departure:   Friday      08/04/2023        7:40 pm        SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Arrival:     Friday      08/04/2023        8:31 pm        LOS ANGELES - LOS ANGELES INTERNATIONAL AIRPORT (LAX)
 Carrier:     JET BLUE (B6)                                Flight #: 1731          Class: W

                                                       Base Fare: $505.36        Taxes: $67.70            Total Airfare: $573.06
                                                         Service Fee Information

Service Fee Vendor: Lawyers Travel                Ticket Number: 3355545345                                                  $32.00
                                                       Rental Car Information
 Confirmation Number : K57000490C9
   Car Vendor:          Hertz
   Rental Address:      SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP


      Pick-Up Date: 07/31/2023          Drop-Off Date: 08/04/2023         Duration: 4      Rate $229.29            Total:      $917.16
                                                            Hotel Information

 Confirmation Number : 3410523949
   Hotel Name:          HILTON SALT LAKE CTY CNTR
   Hotel Address:       255 SOUTH WEST TEMPLE
                        SALT LAKE CITY UT 84101
                        SALT LAKE CITY, UT US 84101
      Check-In Date: 07/31/2023        Check-Out Date: 08/04/2023         Duration:   4     Rate:   $274.50        Total:    $1,098.00

                                                            Payment Details

                 Payment Method                              Payment Number                                   Amount Paid
                 CREDIT CARD                                                                                      573.06
                 CREDIT CARD                                                                                       32.00
                                                                                                                  605.06

                                                            Invoice Summary

                                                                                      Total Airfare:                        $573.06
                                                                                      Total Rail Fare:                        $0.00
                                                                                      Service Fee:                           $32.00
                                                                                      Invoice Total:                        $605.06
                                                                                      Amount Paid:                          $605.06
                                                                                      Balance:                                $0.00
                                                                                      Voided Amount:




Generated:    04/17/2024                                                                                                       Page 1 of 1
   Search: 169,393.00
     Case 2:23-cv-00482-RJS-DBP Document 299-13 Filed 04/17/24 PageID.5532 Page 29 of
                                           35              Holland & Knight LLP
                                                                                       Invoice Number: 169395
                                                                                       Issued Date:    07/31/2023
                                                                                       Agent:          02082

                                                          Traveler Information
Name: ENGLANDER/ALEX MICHAEL                                                Agency Locator:       KPERNP
Client Matter Number:
                                                           Ticket Information
Ticket Number:   7985011553

 Departure:   Monday      07/31/2023         7:50 pm       FORT LAUDERDALE - FORT LAUDERDALE INTERNATIONAL AI (FLL)
 Arrival:     Monday      07/31/2023        10:57 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Carrier:     JET BLUE (B6)                                Flight #: 2319          Class: R

 Departure:   Friday      08/04/2023        11:59 pm       SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP (SLC)
 Arrival:     Saturday    08/05/2023         6:37 am       FORT LAUDERDALE - FORT LAUDERDALE INTERNATIONAL AI (FLL)
 Carrier:     JET BLUE (B6)                                Flight #: 2320          Class: Z

                                                       Base Fare: $565.65        Taxes: $72.22               Total Airfare: $637.87
                                                         Service Fee Information

Service Fee Vendor: Lawyers Travel                Ticket Number: 3959445995                                                   $32.00
                                                       Rental Car Information
 Confirmation Number : K5704375429
   Car Vendor:          Hertz
   Rental Address:      SALT LAKE CITY - SALT LAKE CITY INTERNATIONAL AIRP


      Pick-Up Date: 07/31/2023          Drop-Off Date: 08/04/2023         Duration: 4      Rate     $39.00          Total:      $156.00
                                                            Hotel Information

 Confirmation Number : 3408496815
   Hotel Name:          HILTON SALT LAKE CTY CNTR
   Hotel Address:       255 SOUTH WEST TEMPLE
                        SALT LAKE CITY UT 84101
                        SALT LAKE CITY, UT US 84101
      Check-In Date: 07/31/2023        Check-Out Date: 08/04/2023         Duration:   4     Rate:   $319.50         Total:    $1,278.00

                                                            Payment Details

                 Payment Method                              Payment Number                                   Amount Paid
                 CREDIT CARD                                                                                       637.87
                 CREDIT CARD                                                                                        32.00
                                                                                                                   669.87

                                                            Invoice Summary

                                                                                      Total Airfare:                         $637.87
                                                                                      Total Rail Fare:                         $0.00
                                                                                      Service Fee:                            $32.00
                                                                                      Invoice Total:                         $669.87
                                                                                      Amount Paid:                           $669.87
                                                                                      Balance:                                 $0.00
                                                                                      Voided Amount:




Generated:    04/17/2024                                                                                                        Page 1 of 1
   Search: 169,395.00
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                                                    Invoice ID: 0500-3852-3851




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